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15
                               UNITED STATES DISTRICT COURT
16                                 DISTRICT OF ARIZONA
17   Jane Doe, by her next friends and parents                Case No. 4:23-cv-00185-JGZ
18   Helen Doe and James Doe; and Megan Roe,
     by her next friends and parents, Kate Roe
19   and Robert Roe,                                            NOTICE OF SERVICE
20                              Plaintiffs,
21    v.

22   Thomas C. Horne, in his official capacity as
     State Superintendent of Public Instruction, et
23   al.,
24                              Defendants.
25         Pursuant to LRCiv 5.2, the undersigned hereby notifies the Court of, and certifies the
26 completion of, service of DEFENDANT HORNE’S FIRST SUPPLEMENTAL RESPONSE TO
27 PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS upon all
28 parties in this case. Service has been completed on February 22, 2024, via email to the following:
           Case 4:23-cv-00185-JGZ Document 188 Filed 02/22/24 Page 2 of 3



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         RESPECTFULLY SUBMITTED February 22, 2024.
15
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17                                      /s/ Dennis Wilenchik
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           Case 4:23-cv-00185-JGZ Document 188 Filed 02/22/24 Page 3 of 3



                                   CERTIFICATE OF SERVICE
1
2
3         I hereby certify that, on February 22, 2024, I caused a true and correct copy of the

4 foregoing to be filed by the Court’s electronic filing system, to be served by operation of the
5 Court’s electronic filing system on counsel for all parties who have entered in the case.
6
7                                                           /s/ Hilary Myers

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